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                          U.S. DISTRICT COURT
                      DISTRICT OF SOUTH CAROLINA
                           FLORENCE DIVISION
                              )
GARY T. TYNER,                )
                              )
        Plaintiff,
                              )
   v.                         ) CASE NO.:
                              )
WASHINGTON NATIONAL INSURANCE )
COMPANY                       )
                              )
        Defendant             )


                               NOTICE OF REMOVAL

       Please take notice that the Defendant, Washington National Insurance Company

(“Washington National”), by counsel, pursuant to 28 U.S.C. § 1441(a), hereby removes

this action to the United States District Court for the District of South Carolina, upon the

following grounds:

       1.      On or about April 3, 2018, Plaintiff filed his Complaint against

Washington National in the Court of Common Pleas, Horry County, South Carolina

entitled Dennis Barker v. Washington National Insurance Company, designated as Case

No. 2018-CP-2602173 (the “State Court Action”).

       2.      Plaintiff served his Summons and Complaint on Washington National on

April 12, 2018, via the South Carolina Department of Insurance. Copies of all process,

pleadings and orders served upon Washington National are being filed as required by 28

U.S.C. § 1441(a) and are attached hereto as Exhibit 1.

       3.      The Complaint sets forth an action for damages based upon alleged breach

of contract and alleged insurance bad faith. Under these causes of action, Plaintiff seeks

actual and punitive damages, costs and attorney fees. [Complaint ¶16]
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       4.      This Court has original jurisdiction based on diversity of citizenship and

amount in controversy under 28 USC § 1332, and this action is removable under 28

U.S.C. § 1441(a). Venue properly lies in the District of South Carolina under 28 U.S.C. §

1391(a)(2) and 28 U.S.C. §95(a)(2).

       5.      This is a civil action between citizens of different States. Plaintiff is a

resident of Horry County, South Carolina [Complaint ¶ 1], and is a citizen of South

Carolina. Defendant Washington National is a corporation domiciled in a State other than

South Carolina [Complaint ¶ 2], and more specifically is an insurance company formed

as an Indiana corporation with its principal place of business in Indiana and is therefore a

citizen of Indiana. 28 U.S.C. § 1332 (c) (1).    See Affidavit of Karl Kindig attached as

Exhibit 2.

       6.      To support removal based on diversity jurisdiction, and where it is not

facially evident from the Complaint, the defendant must prove by a preponderance of the

evidence that the amount in controversy exceeds $75,000. 28 USC § 1446(c)(2)(B).

Washington National does not concede the validity of Plaintiff’s claims nor attempt to

predict what Plaintiff will recover; the amount in controversy is determined by the

amount demanded, not what will ultimately be recovered. St. Paul Mercury Indem. Co. v.

Red Cab Co. 303 U.S. 283, 289-290 (1938).

       7.      The amount in controversy exceeds $75,000 exclusive of interest and

costs. The Complaint alleges that damages will not exceed $75,000 but alleges among

other things that Washington National is guilty of insurance bad faith, allegedly entitling

Plaintiff to actual and punitive damages and attorney fees (Complaint ¶¶ 20-23). The

Complaint further alleges in paragraph 14:
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    Thus, the amount of actual damages requested in the Complaint is $50,000, and the only

issue is whether the prayer for punitive damages and attorney fees for alleged bad faith brings

the amount in controversy over $75,000, despite Plaintiff’s assertion that it does not.


            8.      In Brailsford v. Fresenius Medical Center 2017 WL 1214337, *3-5

    (D.S.C. April 3, 2017), this Court refused to remand an action to State Court where the

    prayer for relief in the Complaint was indeterminate, even after the Plaintiff filed a post-

    removal stipulation purporting to limit damages to less than $75,000. The Court stated:

                    The amount in controversy is determined by considering the
                    judgment that would be entered if Brailsford prevailed on the
                    merits of the case as it stands at the time of removal...[T]his court
                    has held that claims for punitive damages “must be included in the
                    calculation of the amount in controversy.”... This court has taken
                    the same approach regarding consequential damages and attorney
                    fees and costs. See Thompson v. Victoria Fire & Cas. Ins. Co., 32
                    F. Supp. 2d 847 (D.S.C. 1999) (holding no dispute that amount in
                    controversy exceeds $75,000.00 where complaint sought punitive
                    damages, consequential damages, and attorneys' fees and costs
                    beyond the $25,000.00 in actual damages claimed).

                                                   [Id. at *4]
            The Court went on to state:

                    Ultimately, Brailsford's post-removal affidavit does not
                    change the court's conclusion that Brailsford's damages
                    could reasonably exceed the jurisdictional amount. “The
                    law is clear that post-removal events, such as amending
                    a complaint in order to reduce the amount in controversy
                    below the jurisdictional limit, do not deprive a federal
                    court of diversity jurisdiction.”

                                                   [Id. at *5]
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        9.      A prayer for punitive damages definitely adds to the amount in

controversy and makes it more likely federal diversity jurisdiction is present. See

Mattison v. Wal-Mart Stores, Inc., No. 6:10-cv-01739, 2011 WL 494395, at *3 (D.S.C.

Feb. 4, 2011) (“Even though [the plaintiff's] Complaint does not specify the exact amount

of damages [she] is claiming in this action, her request for punitive damages alone, which

are properly considered for purposes of determining the amount in controversy, makes it

difficult for [the plaintiff] to prove she could not possibly recover the jurisdictional limit

were she to prevail at trial.”)

        10.     This Court had denied motions to remand in several recent cases where the

presence of a claim for punitive damages indicates an amount in controversy in excess of

$75,000 despite various attempts by plaintiffs to argue, stipulate or plead otherwise. See,

Clear Choice Construction, LLC v. The Travelers Home and Marine Ins. Co. 2018 WL

718960 (D.S.C. Feb. 6, 2018)(remand denied where complaint sought indeterminate

damages and plaintiffs filed post-removal stipulation to seek no more than $74,999 in

damages); Hosey v. Quicken Loans, Inc.           2018 WL 1182510, *1 (D.S.C. March 7,

2018)(remand denied despite specific ad damnum in complaint that plaintiff “does not

seek to recover more than $75,000”); Lighthouse Property Ins. Corp v. Rogers 2017 WL

3634593, *2 (D.S.C. Aug. 22, 2017)(“ A “claim for punitive damages alone makes it

virtually impossible to say that the claim is for less than the jurisdictional amount… The

Court therefore finds by a preponderance of the evidence that Lighthouse's potential

exposure in the Underlying Litigation exceeds the $75,000 amount-in-controversy

threshold.”)
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       11.     Pursuant to 28 U.S.C. § 1446(b), this Notice is timely filed with this

Court, within thirty days after the receipt, by this Defendant, of a copy of the initial

pleading setting forth the claim for relief upon which this action is based.

       12.     As required by 28 U.S.C. § 1446(d), written Notice of Removal is being

given to all adverse parties and a copy of the Notice is being filed with the Clerk of the

Common Pleas Court of Horry County, South Carolina.

       WHEREFORE, the Defendant Washington National Insurance Company, by

counsel, respectfully requests that the State Court Action be removed from the Common

Pleas Court for Horry County, South Carolina, to the United States District Court for

South Carolina, and proceed as an action properly removed thereto.

Dated this 10 day of May, 2018.

                                              Respectfully submitted,



                                         By: s/Sarah Day Hurley
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                                              ATTORNEYS FOR DEFENDANT
                                              WASHINGTON NATIONAL
                                              INSURANCECOMPANY
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                            CERTIFICATE OF SERVICE

       I certify that the foregoing was served by placing a copy of same in the United

States mail, first class postage prepaid this 10 day of May, 2018, addressed to the

following:

                              L. Sidney Connor, IV
                       KELAHER, CONNELL & CONNOR, P.C.
                            Post Office Drawer 14547
                            Surfside Beach, SC 29587


                                             s/Sarah Day Hurley
                                             Sarah Day Hurley
